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(for non-prisoner filers without lawyers) FILED I

UNITED STATES DISTRICT COURT! APR 19 P 2. 4q
EASTERN DISTRICT OF WISCONSIN. i ERK OF CoyRT

 

Jeremiah Collins, Sr.,
Plaintiff

~v. Case Number:

Judge Jane Carroll, Milwaukee County Court, Branch 39 2i -€-0497
Lisa Bangert, Attorney & Guardian Ad Litem =

 

Ryan Kastelic, Attorney
Jamie Christine Collins

Defendants

 

A. PARTIES
1. Plaintiff is a citizen of Wisconsin and resides at 7217 W. Fiebrantz Ave., Milwaukee, WI 53216.
2. Defendant Judge Jane Carroll is a citizen of Wisconsin and resides at (address unknown) and
works for the Milwaukee County Courts, 901 N. 9* St, Room 514, Milwaukee, WI 53233.
3. Defendant Lisa Bangert is a citizen of Wisconsin and resides at 5566 N. Diversey Blvd.,
Milwaukee, WI 53217, and works as a self-employed attorney, 127 E. Silver Spring Dr., #200,
Whitefish Bay, WI 53217.
4. Defendant Ryan Kastelic is a citizen of Wisconsin and resides at 13940 N. Shady Ln., Mequon,
WI 53097, and works as a self-employed attorney, 1031 N. Astor St., Milwaukee, WI 53202.
5. Defendant Jamie Collins is a citizen of Wisconsin and resides at 2215 N. Vel R. Phillips Ave.,
#115, Milwaukee, WI 53212.
B. STATEMENT OF CLAIM & RELIEF WANTED
1. Defendant Judge Jane Carroll:
e Beginning the day she first heard this case (January 14, 2019) and continuing with every
hearing in this case (most recently on March 30, 2021) Judge Carroll has violated
Petitioner’s constitutional rights to an impartial tribunal, due process, freedom of speech,
freedom from unusual punishments, and reasonable accommodations under the
Americans With Disabilities Act. Judge Carroll violated Petitioner’s rights because she is

biased against Petitioner, as has been clearly documented. Defendant’s repeated violation
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of Petitioner’ s rights has resulted in the grievous and unnecessary destruction of his
family and relationships with his children, significant financial distress and ruin,
embarrassment, and humiliation. Due to the grievous nature of Defendant’s violation of
Petitioner’s constitutional rights, Petitioner wants all cases involving Petitioner over
which Judge Carroll presided! to be thrown out and, hence, all rulings, orders, decisions,
opinions, etc. rendered null and void. As well, Petitioner wants monetary and other
appropriate damages for all consequences indicated above.
2. Defendant Lisa Bangert

© Beginning the day she first met with Petitioner (April 2018) and continuing until her
discharge as Petitioner’s children’s Guardian ad litem (August 18, 2020) Ms. Bangert has
violated Petitioner’s constitutional rights to due process, an impartial tribunal, freedom of
speech, and freedom from unusual punishments. As well, Ms. Bangert violated her own
ethical duties and Petitioner’s right to peaceable, helpful, nonaggressive, and non-
argumentative counsel. Defendant behaved as such because she has demonstrated disdain
for Petitioner (perhaps because he is a black male), as has been clearly documented (not
the least of which is when she told Petitioner to f*** off in the Milwaukee County Court
hallway following a hearing). Defendant’s repeated violation of Petitioner’s rights has
resulted in the grievous and unnecessary destruction of his family and relationships with
his children, significant financial distress and ruin, embarrassment, and humiliation.
Petitioner wants monetary and other appropriate damages for all consequences indicated.

3. Defendant Ryan Kastelic

e During his time as Petitioner’s representative (August 20, 2019 through July 15, 2021),
Defendant violated Petitioner’s right to an attorney who upholds his ethical duties of
diligence, helpfulness, communication, and adequate representation. On multiple
occasions, Mr. Kastelic demonstrated he was incapable of focusing on the legal issues at
hand, ignored Petitioner’s directives, and failed and/or refused to communicate with
Petitioner. Defendant did so because he did not feel that he was adequately remunerated
for his services, although he never requested additional funds. These violations resulted
in inadequate representation, the consequences of which are significant financial distress
and ruin, embarrassment, and humiliation. Petitioner wants monetary reimbursement for

all monies paid Defendant.

 

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4. Defendant Jamie Collins

e Ms. Collins began her violation of Petitioner’s rights on February 2, 2018, when she filed
a false domestic abuse report/petition against Petitioner in the Milwaukee County Court
(petition was dismissed). Ms. Collins has continued her violation of Petitioner’s rights by
lying under oath during every hearing in the Milwaukee County Courts (most recent
March 30, 2021) and filing multiple false domestic abuse petitions against Petitioner. Ms.
Collins did all of these things because she was/is angry and bitter that Petitioner filed for
divorce against her. Defendant’s repeated violation of Petitioner’s rights has resulted in
the grievous and unnecessary destruction of his family and relationships with his
children, significant financial distress and ruin, embarrassment, ruined friendships, family
strife, severe psychological distress, and humiliation. Petitioner wants monetary and other

appropriate damages for all consequences indicated.

C. JURISDICTION
e I am suing for a violation of federal law under 28 U.S.C.§1331.

D. JURY DEMAND

e IT DO want a jury to hear my case.
I declare under penalty of perjury that the foregoing is true and correct.
Complaint signed this 19" day of April, 2021.

Respectfully submitted,

eremiah Collins, Sr.

7217 W. Fiebrantz Avenue, Milwaukee, WI 53216
414-210-7691

    

jeremiah. collins35@yahoo.com

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